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lN THE UNITEI) sTATES DISTRICT COURT " 5/! \ ' * ,,»}_
FOR THE WESTERN DISTRICT 0F TENNESSEE ~,,W 5 4,~;4,! '*":'.7
EASTERN DIVISION ;,,.~ii_§ “<`/4"‘ -

BERNADETTE CUNNINGHAM
and ROSALIND JOHNSON,
Individually and as Administratrix
of the Estate of Nekeya Magsby,
Deceased,

 

Plaintiffs,

)

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)

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)

)

)

)
v. ) No. 04-1144 T/An
)

MICHELIN NORTH AMERICA, INC., )
and MICHELIN AMERICAS )
RESEARCH & I)EVELOPMENT )
CORPORATION, )
)
)

Defendants.

 

ORDER DENYING SUPPLEMENTAL MOTION FOR TRIAL CONTINUANCE

 

Before the Court is Plaintiff’s Supplemental Motion for Trial Continuance filed on June
23, 2005. The Court has already entered an Order Granting Plaintiff’s Motion for Trail

Continuance', therefore, the instant Motion is DENIED as moot.

IT IS SO ORDERED. d
/_____._

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: % L(; 200\/

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F TNNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 59 in
case 1:04-CV-01144 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

